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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            HUNTINGTON DIVISION


RICHARD EDWARDS, JR.,

                            Plaintiff,

v.                                                      CASE NO. 3:16-cv-01879
                                                        Judge Robert C. Chambers
McELLIOTTS TRUCKING, LLC;
DANNY McGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC.;


                            Defendants.


     CARDINAL TRANSPORT, INC.’S REPLY IN SUPPORT OF MOTION TO STAY
                               JUDGMENT

        Comes now the defendant, Cardinal Transport, Inc. (“Cardinal”), by counsel, and

files this Reply in Support of its Motion to Stay, ECF No. 246. First, the amount of

Cardinal’s supersedeas bond is sufficient. Second, this Court should not require a cash

payment; under Rule 62 the bond itself suffices. Third, neither the Hilton factors nor any

waiver issues under Rule 50 or Rule 59 are relevant here.

        I.    Cardinal’s supersedeas bond is sufficient.

         The jury entered a verdict of $5,415,811.94. (ECF No. 240). Because Plaintiff

threatened to attempt execution, Cardinal obtained a supersedeas bond in the amount of

$5,456,634.25—more than $40,000 above the judgment entered by this Court. (ECF No.

246-1, bond reflecting a surety of The Hanover Insurance Co.).

        Plaintiff argues that this number is insufficient because it ignores his prejudgment

interest motion filed the same day the bond was executed (August 27). (ECF No. 261 at
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3). Plaintiff has never stated what he thinks the final, correct judgment or bond amount

should be.

       Currently there are pending motions: (1) to offset the judgment by $485,000, the

value Plaintiff obtained in his settlement with McGowan/McElliott’s (ECF No. 257); and

(2) to award pre-judgment interest of either $244,256.63 (Plaintiff’s position, ECF No. 245)

or $48,617.49 (Cardinal’s position, ECF No. 256). Even if the verdict stands, the judgment

should be no higher than $4,985,495.69 (that is, the jury verdict of $5,415,811.94 minus

offset of $485,000, plus prejudgment interest of $48,617.49, plus costs of $6,066.26).

Thus, Cardinal’s bond of more than $5.45 million is enough to protect the status quo from

now through the duration of any appeal.

       Regardless, if this Court believes that the existing supersedeas bond is insufficient,

Cardinal respectfully asks for a reasonable time in which to secure an adequate bond. Its

quick action to secure the existing $5.45 million bond within 14 days of the judgment

shows good faith and an intent properly to bond the judgment during its potential appeal.

       II.    This Court should not require a cash payment.

       Plaintiff also asks this Court to reject any bond in favor of requiring a cash payment

into the Court. (ECF No. 261 at 3-4). Neither Rule 62 nor case law support this argument.

       First, as Plaintiff acknowledges, “Rule 62(d), by its terms, says . . . that an appellant

may obtain a stay as a matter of right by posting such a bond.” Alexander v. Chesapeake,

Potomac & Tidewater Books, Inc., 190 F.R.D. 190, 192 (E.D. Va. 1999); id. (“A judgment

debtor wishing to appeal a judgment is entitled to a stay of the judgment if the debtor

provides a supersedeas bond.”).
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       Upon this Court’s acceptance of a proper supersedeas bond under Rule 62,

Cardinal is entitled to a stay as a matter of right through the duration of any appeal. E.g.,

Am. Mfrs. Mut. Ins. Cor. v. Am. Broadcasting-Paramount Theatres, Inc., 87 S. Ct. 1, 3

(1966) (Harlan, J.) (order granting a stay) (“It seems to be accepted that a party taking an

appeal from the District Court is entitled to a stay of a money judgment as a matter of

right if he posts a bond in accordance with Fed. R. Civ. P. 62(d).”). Plaintiff does not

argue against this rule. And Cardinal has bonded more than the current amount of

judgment, and hereby expresses a willingness to bond a higher amount if necessary.

       Second, Plaintiff’s sole authority for requiring a cash payment does not support it.

(ECF No. 261 at 2, citing Daugherty v. Ocwen Loan Servicing, LLC, 220 F. Supp. 3d 728,

730 (S.D.W.Va. 2016)).        In Daugherty, the defendant tried to use its own parent

corporation as a surety for its bond. See 5:14-cv-24506, at ECF 248-1 (S.D.W.Va. Nov.

10, 2016). In response, the plaintiff submitted evidence from trial that the surety parent

had lost $102 million in a recent business quarter, and expressed concern that a

bankruptcy would leave it unprotected. Id. at ECF 255 (Nov. 18, 2016). The Daugherty

court acknowledged that an “appropriate supersedeas bond” would entitle defendant to a

stay “as a matter of right,” but held that “fil[ing] a document . . . stating that the defendant’s

parent company will cover the full amount of damages . . . . is not an acceptable

supersedeas bond.” 220 F. Supp. 3d at 730. Only under these circumstances did the

court require a cash payment to the clerk. Id.

       Those facts share nothing in common with the facts here. Cardinal has properly

used The Hanover Insurance Company, an independent third party, as a surety for its
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bond. (ECF No. 246-1). Plaintiff makes no suggestion of insolvency by The Hanover

Insurance Company.

       Ultimately, even in Daugherty the defendant never paid cash into the court.

Instead, it obtained a proper bond from an independent insurance company, just as

Cardinal has already done here. See 5:14-cv-24506, at ECF No. 263 (supersedeas bond

from Atlantic Specialty Insurance Co.). The defendant then sought and received a stay

from the Fourth Circuit. Daugherty, 4th Cir. No. 16-2243, ECF No. 17-1 (motion for stay);

ECF No. 24 (order granting a stay). As the Daugherty defendant pointed out, the purpose

of a supersedeas bond is to preserve the status quo without requiring a party to pay the

judgment up front.

       Third, Plaintiff’s arguments about the remaining cross-claims or any disputes

among defendants or insurers about ultimate responsibility for the judgment are

irrelevant. The purpose of an appeal bond is to add a stable surety to ensure that Plaintiff

will receive his judgment if affirmed on appeal. The bond here achieves this.

       III.   Neither the Hilton factors nor the Rule 50/59 arguments matter on this
              issue.

       Plaintiff points out that Cardinal has made no argument under the Hilton factors.

(ECF No. 261 at 2). The Hilton factors, however, apply only when the district court

exercises its discretion to consider a stay without a full bond. Se. Booksellers Ass’n v.

McMaster, 233 F.R.D. 456, 458 (D.S.C. 2006) (collecting cases and noting one court’s

use of the Hilton factors to aid in exercising its inherent discretion over stays); Daugherty,

220 F. Supp. 3d at 730 (discussing the Hilton factors as part of its “discretion to grant a

stay with a reduced bond if appropriate”); Alexander, 190 F.R.D. at 192 (observing that

Rule 62 provides for a stay as a matter of right with an approved bond, but that the district
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court has inherent power to consider other factors if it wants to grant a stay without an

approved appeal bond); E.I. DuPont de Nemours and Co. v. Kolon Industries, 2012 WL

1202485 (E.D. Va. Apr. 10. 2012) (addressing the Hilton factors at length in deciding

whether to grant a stay in the absence of any bond for a $920 million judgment).

        Here, Cardinal requests a stay under Rule 62(b) and 62(d). The Hilton factors are

irrelevant to whether this Court should approve the appeal bond Cardinal submitted,

pending post-trial motions and a possible eventual appeal.

        Next, Plaintiff argues at some length that Cardinal waived its right to file both Rule

50 and Rule 59 post-trial motions. (ECF No. 261 at 4-8). As an initial matter, whether

certain post-trial motions addressing the merits of the case are proper does not affect the

sufficiency of an appeal bond under Rule 62. Regardless of everything Plaintiff says in

the second half of his Opposition, the supersedeas bond is sufficient through the potential

eventual appeal and this Court should accept it. 1 Also, other post-trial motions that relate

directly to the proper amount of the judgment remain pending, and Cardinal asks for an

opportunity to secure a different sum of bond if the Court determines that is necessary.

        As a final matter, Cardinal did not waive its right to file a Rule 59 motion. As Wright

& Miller point out, a Rule 59 motion is proper even absent a motion for judgment as a

matter of law. Wright & Miller, 9B Fed. Prac. & Proc. Civ. § 2537 (3d ed.)) (“[I]f the verdict

winner’s evidence was insufficient as a matter of law but no motion for judgment as a

matter of law was made . . . the district court . . . can set aside the verdict and order a

new trial.”); S.E.C. v. Goldstone, 233 F. Supp. 3d 1169, 1197 (D.N.M. 2017) (“Even if no

rule 50(a) motion was made . . . the court is nevertheless permitted to entertain a rule 59


1Cardinal did not any Rule 50 post-trial motions, so any argument that Cardinal waived such a motion
during trial is moot.
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motion for a new trial on the basis that the verdict was based on a quantum of evidence

that is insufficient as a matter of law.”).

       Plaintiff’s focus on Fourth Circuit cases has nothing to do with whether a Rule 59

motion is proper in this Court. The Ihnken and Nichols cases address the Fourth Circuit’s

appellate standard of review for decisions denying Rule 59 motions. Those cases do not

say a party cannot seek a new trial in the district court.

                                          Conclusion

       For these reasons, Cardinal respectfully asks this Court to approve its

supersedeas bond filed at ECF No. 246-1 and thus grant a stay of execution of the

judgment pending any appeal in this case.




                                              CARDINAL TRANSPORT, INC.
                                              By Counsel


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                           Defendants.

                             CERTIFICATE OF SERVICE

        I, William J. Hanna, counsel for the defendant, do hereby certify that I served

CARDINAL TRANSPORT, INC.’S REPLY upon the following counsel of record this 7th

day of September 2018 via the CM/ECF system:

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